                                        Case 2:16-cv-02625-GW-PLA Document 152 Filed 12/19/17 Page 1 of 6 Page ID #:4588



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                                           10                       UNITED STATES DISTRICT COURT
                                           11                     CENTRAL DISTRICT OF CALIFORNIA
ADLI LAW GROUP, P.C.




                                           12   LUMA PICTURES, INC., a California         Case No. 2:16-cv-02625-GW(PLAx)
                                                corporation,
                                           13
                                                                                          Honorable George H. Wu
                       (213) 623-6546




                                           14                    Plaintiff,
                                                                                          NOTICE OF ERRATA FOR DKT.
                                           15
                                                            v.                            NO. 151 JOINT REQUEST FOR
                                           16                                             RULING ON BENACH TRIAL
                                                JONATHAN BETUEL, an individual,
                                           17

                                           18                    Defendant.
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                                                                          NOTICE OF ERRATA FOR DKT. NO. 151
1003.203
                                        Case 2:16-cv-02625-GW-PLA Document 152 Filed 12/19/17 Page 2 of 6 Page ID #:4589



                                            1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                                            2

                                            3        Counsel for Jonathan Betuel submits this Notice of Errata to correct an
                                            4 inadvertent filing of the Document No. 151 filed on December 19, 2017.

                                            5 Accordingly, please substitute the document in filing having the docket number 151

                                            6 with the document attached hereto as Exhibit A.

                                            7
                                                Dated:   December 19, 2017       ADLI LAW GROUP P.C.
                                            8

                                            9
                                                                                 By:/s/Drew H. Sherman
                                           10                                       Drew H. Sherman
                                                                                    Attorneys for Defendant
                                           11                                       Jonathan Betuel
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                                                                        NOTICE OF ERRATA FOR DKT.NO. 151
1003.203
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                                         Case 2:16-cv-02625-GW-PLA Document 152 Filed 12/19/17 Page 4 of 6 Page ID #:4591



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                                                 Attorneys for Defendant,
                                             8
                                                 Johnathan Beutel
                                             9
                                                                      UNITED STATES DISTRICT COURT
                                            10
                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                            11
ADLI LAW GROUP, P.C.




                                            12
                                                 LUMA PICTURES, INC., a California          Case No. 2:16-cv-02625-GW(PLAx)
                                            13   corporation,
                       www.adlilaw.com
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                                            14                                              Honorable George H. Wu
                                                                   Plaintiff,
                                            15

                                            16                v.                            PARTIES JOINT STIPULATION
                                                                                            UNDER C.D. CAL. L.R. 83-9.2
                                            17 JONATHAN BETUEL, an individual,

                                            18
                                                                   Defendant.
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                                                                        JOINT STIPULATION UNDER LOCAL RULE 83-9.2
1920.201
                                         Case 2:16-cv-02625-GW-PLA Document 152 Filed 12/19/17 Page 5 of 6 Page ID #:4592



                                             1         Pursuant to Local Rule 83-9.2, Plaintiff Luma Pictures, Inc., and Defendant
                                             2 Jonathan Betuel hereby request the Court herein to file and serve a decision on

                                             3 Plaintiff's action for Declaratory Relief without delay.

                                             4         The bench trial in this matter concluded with closing arguments on July 31,
                                             5 2017. This Court instructed the parties to "nudge" his honor if no decision was filed

                                             6 within thirty (30) days of closing arguments. The parties "nudged" this Court. The

                                             7 parties were subsequently informed by this Court on November 8, 2017 that a

                                             8 decision and order for judgment would be handed down within thirty (30) days.

                                             9 However, with the understanding by the parties that this Court has a full docket and
                                            10 busy schedule, no decision and order has been provided by this Court.

                                            11         Local Rule 83-9.1 requires that the Court render and file its decision within
ADLI LAW GROUP, P.C.




                                            12 120 days of the matter being submitted, i.e., July 31, 2017. No decision

                                            13 having been rendered, counsel for all parties are required to submit this request
                       www.adlilaw.com
                        (213) 623-6546




                                            14
                                                 within 130 days of this Court taking the matter under submission. (C.D. Cal. L.R.

                                            15
                                                 83-9.2).
                                                 IT IS SO STIPULATED.                ADLI LAW GROUP, P.C.
                                            16

                                            17 Dated: December 19, 2017              By: /s/ Drew H. Sherman
                                            18                                           Dariush G. Adli, Esq.
                                                                                         Drew H. Sherman, Esq.
                                            19                                           Attorneys for Defendant
                                            20                                           JONATHAN BETUEL

                                            21 Dated: December 18, 2017              Brown Neri Smith & Khan LLP
                                            22

                                            23                                       By:/s/Jill Glennon
                                                                                        Jill Glennon
                                            24                                          Attorneys for Plaintiff
                                                                                        LUMA PICTURES, INC
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                                                                        JOINT STIPULATION UNDER LOCAL RULE 83-9.2
1920.201
                                         Case 2:16-cv-02625-GW-PLA Document 152 Filed 12/19/17 Page 6 of 6 Page ID #:4593



                                             1                            CERTIFICATE OF SERVICE
                                             2        I hereby certify that I electronically filed the foregoing document:
                                             3         PARTIES JOINT STIPULATION UNDER C.D. CAL. L.R. 83-9.2
                                             4   with the Clerk of the Court for the United States District Court for the Central
                                             5 District of California by using the CM/ECF system on December 19, 2017.

                                             6        Participants in the case who are registered CM/ECF users will be served by
                                             7 the CM/ECF System.

                                             8        I certify under penalty of perjury under the laws of the United States of
                                             9 America that the foregoing is true and correct.
                                            10        Executed December 19, 2017 in Los Angeles, California.
                                            11
ADLI LAW GROUP, P.C.




                                            12
                                                 Dated: December 19, 2017                /s/ Drew H. Sherman
                                            13                                           Drew H. Sherman, Esq.
                       www.adlilaw.com
                        (213) 623-6546




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                                                                       JOINT STIPULATION UNDER LOCAL RULE 83-9.2
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